          Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 1 of 10


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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF VERMONT                                2121 OCT 12 PH It: 2i
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ASHLEIGH MACKIN, Individually,
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               Plaintiff,                                                                DEP\Jf Y CLERK

V.

JK HOSPITALITY LLC, Individually,

               Defendant.
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                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, ASHLEIGH MACKIN, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as "Plaintiff''), hereby sues the Defendant, JK

HOSPITALITY LLC, Individually, (sometimes referred to as "Defendant"), for Injunctive Relief,

and attorney's fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act,

42 U.S.C. § 12181 et seq. ("ADA").

1.             Plaintiff is a resident of North Carolina, is sui juris, and qualifies as an individual

               with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

               life activity of walking more and relies on a wheelchair when ambulating. Plaintiff

               requires accessible handicap parking spaces located closest to the entrances of a

               facility. The handicap and access aisles must be of sufficient width so that she can

               embark and disembark from a ramp into a vehicle. Routes connecting the handicap

               spaces and all features, goods and services of a facility must be level, properly

               sloped, sufficiently wide and without cracks, holes or other hazards that can pose a
....        Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 2 of 10




               danger oftipping, catching wheels or falling. These areas must be free of obstructions

               or unsecured carpeting that make passage either more difficult or impossible.

               Amenities must be sufficiently lowered so that Plaintiff can reach them. She has

               difficulty operating door knobs, sink faucets, or other operating mechanisms that

               tight grasping, twisting ofthe wrist or pinching. She is hesitant to use sinks that have

               unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks must

               be at the proper height so that she can put her legs underneath to wash her hands. She

               requires grab bars both behind and beside a commode, tub or shower so that she can

               safely transfer and she has difficulty reaching the flush control if it is on the wrong

               side. She has difficulty getting through doorways if they lack the proper clearance.

       2.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

               "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

               determining whether places of public accommodation and their websites are in

               compliance with the ADA.

       3.      According to the public property records, Defendant owns a place of public

               accommodation as defined by the ADA and the regulations implementing the ADA,

               28 CFR 36.20l(a) and 36.104. The place of public accommodation that the

               Defendant owns is a place of lodging known as Econo Lodge, 2187 Depot St,

               Manchester Center, VT, and is located in the County of Bennington, (hereinafter

               "Property").

       4.      Venue is properly located in this District because the subject property is located in

               this district.


                                                  2
....        Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 3 of 10




       5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

               original jurisdiction over actions which arise from the Defendant's violations ofTitle

               III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also ·28

               U.S.C. § 2201 and§ 2202.

       6.      As the owner of the subject place of lodging, Defendant is required to comply with

               the ADA. As such, Defendant is required to ensure that it's place of lodging is in

               compliance with the standards applicable to places of public accommodation, as set

               forth in the regulations promulgated by the Department Of Justice. Said regulations

               are set forth in the Code OfFederal Regulations, the Americans With Disabilities Act

               Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

               by reference into the ADA. These regulations impose requirements pertaining to

               places of public accommodation, including places oflodging, to ensure that they are

               accessible to disabled individuals.

       7.      More specifically, 28 C.F.R. Section 36.302(e)(l) (the "Regulation"), promulgated

               by the Department of Justice pursuant to 42 U.S.C. Section 12182(b)(2)(A)(ii),

               imposes the following requirement:

               Reservations made by places of lodging. A public accommodation that owns,
               leases (or leases to), or operates a place of lodging shall, with respect to
               reservations made by any means, including by telephone, in-person, or through a
               third party -
                       (i) Modify its policies, practices, or procedures to ensure that individuals
                       with disabilities can make reservations for accessible guest rooms during
                       the same hours and in the same manner as individuals who do not need
                       accessible rooms;
                       (ii) Identify and describe accessible features in th~ hotels and guest rooms
                       offered through its reservations service in enough detail to reasonably



                                                 3
      Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 4 of 10




                permit individuals with disabilities to assess independently whether a
                given hotel or guest room meets his or her accessibility needs;
                (iii) Ensure that accessible guest rooms are held for use by individuals
                with disabilities until all other guest rooms of that type have been rented
                and the accessible room requested is the only remaining room of that type;
                (iv) Reserve, upon request, accessible guest rooms or specific types of
                guest rooms and ensure that the guest rooms requested are blocked and
                removed from all reservations systems; and
                (v) Guarantee that the specific accessible guest room reserved through its
                reservations service is held for the reserving customer, regardless of
                whether a specific room is held in response to reservations made by others.

8.       This regulation was promulgated pursuant to 42 U.S.C. Section 12182(b)(2)(A)(ii)

         and became effective March 15, 2012.

9.       Defendant, either itself or by and through a third party, accepts reservations for its

         hotel online through one or more websites. (Hereinafter "websites" or "ORS".)

         The purpose of this ORS is so that members of the public may reserve guest

         accommodations and review information pertaining to the goods, services,

         features, facilities, benefits, advantages, and accommodations of the Property. As

         such, these websites are subject to the requirements of28 C.F.R. Section

         36.302(e).

10.      Since prior to the filing of the instant lawsuit, Plaintiff has plans to travel to and

         throughout the state in February, 2022. She will need to stay in area hotels and the

         failure of this and other hotels deprive her of the information she needs to make a

         meaningful choice in determining in which hotel she can stay.

11.      Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

         purpose of reviewing and assessing the accessible features at the Property and

         ascertain whether they meet the requirements of28 C.F.R. Section 36.302(e) and


                                            4
Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 5 of 10




   her accessibility needs for the purpose of planning her upcoming trip. However,

   Defendant failed to comply with the requirements set forth in 28 C.F.R. Section

   36.302(e) and failed to provide the third parties with the information required to

   comply with this regulation. Defendant thereby violated 42 U.S.C. Section

   12182(a) and 42 U.S.C. Section 12182(b)(2)(A)(ii). As a result, Plaintiff was

   deprived the same goods, services, features, facilities, benefits, advantages, and

   accommodations of the Property available to the general public. Specifically, the

   following violations were found:

   •      The website for the hotel located at booking.com did not identify or allow

          for reservation of accessible guest rooms and did not provide sufficient

          information regarding accessability at the hotel.

   •      The website for the hotel located at expediacom did not identify or allow

          for reservation of accessible guest rooms and did not provide sufficient

          information regarding accessability at the hotel.

   •      The website for the hotel located at hotels.com did not identify or allow

          for reservation of accessible guest rooms and did not provide sufficient

          information regarding accessability at the hotel.

   •      The website for the hotel located at priceline.com did not identify or allow

          for reservation of accessible guest rooms and did not provide sufficient

          information regarding accessability at the hotel.




                                      5
      Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 6 of 10




         •      The website for the hotel located at orbitz.com did not identify or allow for

                reservation of accessible guest rooms and did not provide sufficient

                information regarding accessability at the hotel.

         •      The website for the hotel located at agoda.com did not identify or allow

                for reservation of accessible guest rooms and did not provide sufficient

                information regarding accessability at the hotel.

12.      In the near future, Plaintiff intends to revisit Defendant's online reservations

         system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this

         respect, Plaintiff maintains a system to ensure that she revisits the online

         reservations system of every hotel she sues. By this system, Plaintiff maintains a

         list of all hotels she has sued with several columns following each. She

         continually updates this list by, among other things, entering the dates she did visit

         and plans to again visit the hotel's online reservations system. With respect to

         each hotel, she visits the online reservations system multiple times prior to the

         complaint being filed, then visits again shortly after the complaint is filed. Once a

         judgment is obtained or settlement agreement reached, she records the date by

         which the hotel's online reservations system must be compliant and revisits when

         that date arrives. She also intends to revisit the ORS for the purpose of comparing

         hotels and their accessible features in determining in which hotel she can stay

         during her upcoming trip.




                                           6
      Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 7 of 10




13.      Plaintiff is continuously aware that the subject websites remain non-compliant and

         that it would be a futile gesture to revisit the websites as long as those violations

         exist unless she is willing to suffer additional discrimination.

14.      The violations present at Defendant's websites infringe Plainti:ff s right to travel

         free of discrimination and deprive her of the information required to make

         meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

         frustration and humiliation as the result of the discriminatory conditions present at

         Defendant's website. By continuing to operate the websites with discriminatory

         conditions, Defendant contributes to Plaintifrs sense of isolation and segregation

         and deprives Plaintiff the full and equal enjoyment of the goods, services,

         facilities, privileges and/or accommodations available to the general public. By

         encountering the discriminatory conditions at Defendant's website, and knowing

         that it would be a futile gesture to return to the websites unless she is willing to

         endure additional discrimination, Plaintiff is deprived of the same advantages,

         privileges, goods, services and benefits readily available to the general public. By

         maintaining a websites with violations, Defendant deprives Plaintiff the equality

         of opportunity offered to the general public. Defendant's online reservations

         system serves as a gateway to its hotel. Because this online reservations system

         discriminates against Plaintiff, it is thereby more difficult to book a room at the

         hotel or make an informed decision as to whether the facilities at the hotel are

         accessible.




                                            7
      Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 8 of 10




15.      Plaintiff has suffered and will continue to suffer direct and indirect injury as a

         result of the Defendant's discrimination until the Defendant is compelled to

         modify its websites to comply with the requirements of the ADA and to

         continually monitor and ensure that the subject websites remain in compliance.

16.      Plaintiff has a realistic, credible, existing and continuing threat of discrimination

         from the Defendant's non-compliance with the ADA with respect to these

         websites. Plaintiff has reasonable grounds to believe that she will continue to be

         subjected to discrimination in violation of the ADA by the Defendant.

17.      The Defendant has discriminated against the Plaintiff by denying her access to,

         and full and equal enjoyment of, the goods, services, facilities, privileges,

         advantages and/or accommodations of the subject website.

18.      The Plaintiff and all others similarly situated will continue to suffer such

         discrimination, injury and damage without the immediate relief provided by the

         ADA as requested herein.

19.      Defendant has discriminated against the Plaintiff by denying her access to full and

         equal enjoyment of the goods, services, facilities, privileges, advantages and/or

         accommodations of its place of public accommodation or commercial facility in

         violation of 42 U.S.C. § 12181 ~ - and 28 CFR 36.302(e). Furthermore, the

         Defendant continues to discriminate against the Plaintiff, and all those similarly

         situated by failing to make reasonable modifications in policies, practices or

         procedures, when such modifications are necessary to afford all offered goods,

         services, facilities, privileges, advantages or accommodations to individuals with


                                            8
            Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 9 of 10




               disabilities; and by failing to take such efforts that may be necessary to ensure that

               no individual with a disability is excluded, denied services, segregated or

               otherwise treated differently than other individuals because of the absence of

               auxiliary aids and services.

20.            Plaintiff is without adequate remedy at law and is suffering irreparable harm.

               Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

               fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

               12205 and 28 CFR 36.505.

21 .           Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

               Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

               subject websites to make them readily accessible and useable to the Plaintiff and

               all other persons with disabilities as defined by the ADA and 28 C.F .R. Section

               36.302(e); or by closing the websites until such time as the Defendant cures its

               violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

       a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

               commencement of the subject lawsuit is in violation of Title III of the Americans

               with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

       b.      Injunctive relief against the Defendant including an order to revise its websites to

               comply with 28 C.F .R. Section 36.302(e) and to implement a policy to monitor and

               maintain the websites to ensure that it remains in compliance with said requirement.




                                                 9
     Case 2:21-cv-00247-kjd Document 1 Filed 10/12/21 Page 10 of 10




c.      An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

         § 12205.

d.      Such other relief as the Court deems just and proper, and/or is allowable under

        Title III of the Americans with Disabilities Act.

                                       Respectfully Submitted,

                                       Isl Tristan W Gillespie   ···Ul.1
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                                          10
